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                      EXHIBIT B
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                                         Platform Access Agreement

                                                                         Updated as of January 1, 2022


        This Platform Access Agreement (this “PAA”) is by and among you and your
        company/business (“you”) and the following entity as applicable, based on the region
        specified: Uber Technologies, Inc. in California; Rasier-PA, LLC in Pennsylvania; Rasier-DC, LLC
        in Florida; Rasier- MT, LLC in Montana; Rasier-NY, LLC in New York; and Rasier, LLC in all other
        U.S. states, territories and possessions (collectively, “Uber”). This PAA governs your access to
        our Platform (defined below) which facilitates your provision of rideshare or peer-to-peer
        transportation service (collectively, “P2P Service”) to account holders seeking to access
        certain types of P2P Service (“Riders”) for themselves and/or their guests. For the sake of
        clarity and depending on the context, references to “Uber,” “we,” “our” and “us” may also
        refer to the appropriate Uber- affiliated contracting entity accordingly or Uber collectively.

        Access to our technology platform includes access to our technology application (the “Driver
        App”) that, amongst other things, facilitates P2P Service between you and Riders; as well as
        websites and all other associated services, including payment and support services, provided
        by Uber, its affiliates or third parties (collectively, our “Platform”).

        Your access to our Platform is also governed by the applicable terms found on our website,
        including without limitation, the Community Guidelines, Referral Policies, other applicable
        Uber standards and policies (including, without limitation, Uber’s safety standards, the
        accessibility policies and U.S. Service Animal Policy) and, except as provided in Section 12.9
        below, any other agreements you have with us (including those related to how you choose to
        interact with our Platform, the services you choose to provide and where you chose to
        provide them) (collectively with this PAA, this “Agreement”), which are incorporated by
        reference into this Agreement. By accepting this Agreement, you confirm that you have read,
        understand and accept the provisions of this Agreement and intend to be bound by this
        Agreement. This Agreement is effective as of the date and time you accept it.

             1.    Relationship with Uber
                   1.1. Contracting Parties. The relationship between the parties is solely as
        independent business enterprises, each of whom operates a separate and distinct business
        enterprise that provides a service outside the usual course of business of the other. This is
        not an employment agreement and you are not an employee. You confirm the existence and
        nature of that contractual relationship each time you access our Platform. We are not hiring
        or engaging you to provide any service; you are engaging us to provide you access to our
        Platform. Nothing in this Agreement creates, will create, or is intended to create, any




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                                                                                                           Karina Monasterio
                                                                                                                03/07/23
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                                                                                                           MaryKay Horvath CRR, RMR
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        employment, partnership, joint venture, franchise or sales representative relationship
        between you and us. The parties do not share in any profits or losses. You have no authority
        to make or accept any offers or representations on our behalf. You are not our agent and you
        have no authority to act on behalf of Uber.

                     1.2. Your Choice to Provide P2P Service to Riders. We do not, and have no
        right to, direct or control you. Subject to Platform availability, you decide when, where and
        whether (a) you want to offer P2P Service facilitated by our Platform and (b) you want to
        accept, decline, ignore or cancel a Ride (defined below) request; provided, in each case, that
        you agree not to discriminate against any potential Rider in violation of the Requirements
        (defined below). Subject to your compliance with this Agreement, you are not required to
        accept any minimum number of Rides in order to access our Platform and it is entirely your
        choice whether to provide P2P Service to Riders directly, using our Platform, or using any
        other method to connect with Riders, including, but not limited to other platforms and
        applications in addition to, or instead of, ours. You understand, however, that your Riders’
        experiences with your Rides, as determined by Rider input, may affect your ability to access
        our Platform or provide Rides.

             2.    Our Platform
                   2.1. General. While using our Driver App, you may receive lead generation and
        other technology-based services that enable those operating independent business
        enterprises like you to provide P2P Service requested by Riders (“Rides”). Subject to the
        terms and conditions of this Agreement, Uber hereby grants you a non-exclusive,
        non-transferable, non-sublicensable, non-assignable license, during the term of this
        Agreement, to use our Platform (including the Driver App) solely for the purpose of
        providing Rides and accessing services associated with providing Rides.

                   2.2.     Compliance.
                                (a) You are responsible for identifying, understanding, and
        complying with (i) all laws (including, but not limited to, the Americans with Disabilities Act
        and applicable laws governing your collection, use, disclosure, security, processing and
        transfer of data), rules and regulations that apply to your provision of Rides (including
        whether you are permitted to provide P2P Service at all) in the jurisdiction(s) in which you
        operate (your “Region”) and (ii) this Agreement (collectively, the “Requirements”). Subject to
        applicable law, you are responsible for identifying and obtaining any required license
        (including driver’s license), permit, or registration required to provide any P2P Service that
        you provide using our Platform. Notwithstanding anything to the contrary in this Agreement,
        for the avoidance of doubt, your ability to access and use our Platform is at all times subject
        to your compliance with the Requirements. You agree not to access or attempt to access our
        Platform if you are not in compliance with the Requirements.




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                                (b) The Americans with Disabilities Act imposes obligations including
        the obligation to transport Riders with service animals and does not contain exceptions for
        allergies or religious objections. We have the right to and you consent to the permanent
        deactivation of your Driver App account and the permanent termination of your contractual
        relationship with us if, based on the evidence, we conclude that you knowingly refused a Ride
        request from a Rider with a service animal, or if we receive plausible reports from Riders of
        more than one cancellation or refusal by you alleged to be on the basis of the presence of a
        Rider’s service animal.


                     2.3. Your Provision of Transportation Services to Riders. You represent,
        warrant and covenant that (a) you have all the necessary expertise and experience to
        provide Rides in compliance with the Requirements and standards applicable to the P2P
        Service, (b) your access and use of our Platform, and provision of P2P Service, in your
        Region is permitted by the Requirements (including any age requirements), and (c) all such
        access and use of our Platform will be in compliance with the Requirements. You are
        responsible for, and bear all costs of, providing all equipment, tools and other materials
        that you deem necessary or advisable and are solely responsible for any obligations or
        liabilities arising from the Rides you provide.

                   2.4.        Accessing our Platform.
                               (a) To provide Rides you must create and register an account. All
        information you provide to us must be accurate, current and complete and you will maintain
        the accuracy and completeness of such information during the term of this Agreement.
        Unless otherwise permitted by us in writing, you agree to only possess one account for
        providing Rides. You are responsible for all activity conducted on your account. For account
        security and Rider safety purposes, you agree not to share or allow anyone to use your login
        credentials or other personal information used in connection with your account, including but
        not limited to photos of yourself, to access our Platform. If you think anyone has obtained
        improper access to your account, login credentials or personal information, you are required
        to notify us and to change your password immediately so that we may take appropriate steps
        to secure your account. You agree that Uber is not responsible for any losses arising from
        your sharing of account credentials with a third party, including without limitation phishing.
        You can visit help.uber.com for more information about securing your account.

                               (b) You represent, warrant, and covenant that you have all
        required authority to accept and be bound by this Agreement. If you are accepting this
        Agreement on behalf of your company, entity, or organization, you represent and warrant
        that you are an authorized representative of that company, entity, or organization with the




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        authority to bind such party to this Agreement.

                   2.5.        Background Checks and Licensing, Vehicle Standards.
                               (a) During your account creation and registration, we will collect,
        and may verify, certain information about you and the vehicle(s) you use to provide Rides (
        “your vehicle”).

                               (b) You will also be required to pass various background, driving
        record and other checks both prior to the first time you access our Platform and from time
        to time thereafter during the term of this Agreement; these checks may be facilitated by
        third parties. You hereby authorize and instruct us to provide copies of such checks to
        insurance companies, relevant regulators and/or other governmental authorities as needed
        for safety or other reasons, as described in our Privacy Notice.

                               (c)    You agree that your vehicle will be properly registered, licensed
        and suitable to provide Rides in your Region. You represent that at all times during the
        provision of any Rides your vehicle will be in your lawful possession with valid authority to
        use your vehicle to provide Rides in your Region. You agree that your vehicle will be in safe
        operating condition, consistent with safety and maintenance standards for a vehicle of its
        type in the P2P Service industry. You agree to monitor for and repair any parts that are
        recalled by your vehicle’s manufacturer (as well as anything else the Requirements
        applicable to your particular Region may require).

                   2.6.        Accepting Ride Requests.
                               (a) Ride requests may appear in the Driver App and you may
        attempt to accept, decline or ignore them. Accepting a Ride request creates a direct business
        relationship between you and your Rider in accordance with the terms of the transportation
        service the Rider has requested through our Platform. The mechanism for accepting or
        declining Rides may vary depending on your location and the type of Ride-request you
        accept. You acknowledge upon acceptance of a Ride request, you may incur Uber fees as
        described in an applicable fare addendum to this PAA.

                               (b) You will choose the most effective, efficient, and safe manner to
        reach the destinations associated with a Ride. Any navigational directions offered in the
        Driver App are offered for your convenience only; you have no obligation to follow such
        navigational directions. You agree to transport Riders, or their guests, directly to their
        specified destination, as directed by the applicable person, without unauthorized
        interruption or unauthorized stops.




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                               (c)    You may receive Rider information, including approximate
        pickup location, and you agree that your Rider may also be given identifying information
        about you, including your first name, photo, location, vehicle information, and certain other
        information you have voluntarily provided through the Driver App (collectively, “User
        Information”). Without a Rider’s consent, you agree to not contact any Rider or otherwise
        use any of the Rider’s User Information except solely in connection with the provision of
        Rides to that Rider. You agree to treat all Rider User Information as Confidential Information
        (defined below) received by you under this Agreement. You acknowledge that your violation
        of your confidentiality obligations may also violate certain laws and could result in civil or
        criminal penalties.

                   2.7.         Use of Uber Branded Materials.
                                (a) Except to the extent necessary to comply with applicable law,
        you are not required to use, wear or display Uber’s name or logo on your vehicle or clothing,
        or to use signaling lights, stickers, decals, or other such materials displaying Uber’s name or
        logo (collectively “Uber Branded Materials”).

                                (b) Your authorized display of Uber Branded Materials may signify to
        Riders that your P2P Service is facilitated by our Platform. Uber grants you a limited license to
        use, wear, or display Uber Branded Materials provided directly to you by Uber (“Authorized
        Uber Branded Materials”) when providing Rides solely for the purpose of identifying yourself
        and your vehicle to Riders as someone selling P2P Service facilitated by our Platform. You
        agree not to (i) use, wear, or display Uber-Branded Materials that are not Authorized Uber
        Branded Materials (ii) purchase, accept, offer to sell, sell or otherwise transfer Uber Branded
        Materials that are not Authorized Uber Branded Materials or (iii) offer to sell or sell, or
        otherwise transfer Authorized Uber Branded Materials, without Uber’s prior written
        permission, or (iv) display Uber Branded Materials when you are not accessing the Platform.

                               (c)  The parties expressly agree that your access to, or use of, Uber
        Branded Materials, whether or not authorized, does not indicate an employment or other
        similar relationship between you and us. You further agree not to represent yourself as our
        employee, representative or agent for any purpose or otherwise misrepresent your
        relationship with us.

                              (d) You agree to destroy and discard any Uber Branded Materials if
        your account is deactivated and/or if you lose access to the Platform.

                  2.8. Crashes, Criminal Offenses, and Other Compliance Obligations. For the
        purpose of assisting us with our compliance and insurance obligations, you agree to notify




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        us within 24 hours and provide us with all reasonable information relating to any incident
        (including any crash involving your vehicle) that occurs during your provision of a Ride and
        you agree to cooperate with any investigation and attempted resolution of such incident.
        Additionally, you agree to notify us within 24 hours if you are arrested for, charged with, or
        convicted of a criminal offense, for Platform eligibility consideration.

                   2.9. Ratings. Your Rider may be asked to comment on your services, and you
        may be asked to comment on your Rider. These comments can include star or other ratings
        and other feedback (collectively, “Ratings”), which we ask all parties to provide in good faith.
        Ratings are not confidential and you hereby authorize our use, distribution and display of
        your Ratings (and Ratings about you) as provided in our Privacy Notice, without attribution
        or further approval. We have no obligation to verify Ratings or their accuracy, and may
        remove them from our Platform in accordance with the standards in our Community
        Guidelines. You can find out more about Ratings and how they may affect your ability to
        access our Platform by visiting our website.

                   2.10. Location Based Technology Services; Communication Consents.
                               (a)   Your device geo-location information is required for the proper
        functioning of our Platform, and you agree to not take any action to manipulate or falsify your
        device geo-location. You grant us the irrevocable right to obtain your geo-location
        information and to share your location with third parties, including your Riders, who will see
        the approximate location of your vehicle in the Rider app before and during their Ride. We
        may not and will not use this information to attempt to supervise, direct, or control you or
        your provision of Rides.

                               (b) You agree that we may contact you by email, telephone or text
        message (including by an automatic telephone dialing system) at any of the phone numbers
        provided by you, or on your behalf, in connection with your account. You also understand
        that you may opt out of receiving text messages from us at any time, either by replying
        “STOP” or texting the word “STOP” to 89203 using the mobile device that is receiving the
        messages, or by contacting us at help.uber.com. Notwithstanding the foregoing, we may also
        contact you by any of the above means, including by SMS, in case of suspected fraud or
        unlawful activity by your or on your account.

             3.        Insurance
                     3.1. Your Auto Liability Insurance for P2P Service. You will maintain automobile
        liability insurance on your vehicle that provides protection against bodily injury and property
        damage to third parties at coverage levels that satisfy the minimum requirements to operate
        a vehicle on public roads wherever you use your vehicle. You must be listed as an insured or a




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        driver on your automobile liability insurance. You will provide us with a copy of the insurance
        policy, policy declarations, proof of insurance identification card and proof of premium
        payment for your policy, as well as copies of the same upon renewal. You will notify us in
        writing immediately if the policy you have is cancelled.

                   3.2. Limitations on Your Personal Insurance. You understand that while you
        are providing P2P Service your personal automobile insurance policy may not afford liability,
        comprehensive, collision, medical payments, personal injury protection, uninsured motorist,
        underinsured motorist, or other coverage for you. If you have any questions or concerns
        about the scope or applicability of your own insurance coverage, it is your responsibility to
        resolve them with your insurer.

                    3.3. Your Other Insurance for P2P Service. You will maintain workers’
        compensation insurance if it is required by applicable law. If allowed by applicable law, you
        can insure yourself against industrial injuries by maintaining occupational accident insurance
        in place of workers’ compensation insurance (and it is at your own risk if you decide not to).

                    3.4. Your Other Insurance for P2P Service. You will maintain workers’
        compensation insurance if it is required by applicable law. If allowed by applicable law, you
        can insure yourself against industrial injuries by maintaining occupational accident insurance
        in place of workers’ compensation insurance (and it is at your own risk if you decide not to).

                     3.5. Uber Maintained Insurance. We may, in our sole discretion, choose to
        maintain auto insurance related to your Rides, but we are not required to provide you with
        any specific coverage for loss to you or your vehicle, unless we specifically describe it in an
        addendum to this PAA. We can change, reduce or cancel insurance that is maintained by us,
        if any, at any time without notice to you or authorization from you.

             4.     Payments
                    4.1.       Instant Pay.
                               (a) Eligibility for Instant Pay. You must have a valid and active debit
        card issued in your name to use Instant Pay. Your ability to use Instant Pay is dependent
        upon your debit card’s acceptance of fast funds; not all debit cards are eligible to accept fast
        funds, and the card’s issuing bank may choose at any time to disable the acceptance of fast
        funds or enable restrictions. Certain users may not be eligible for Instant Pay, including users
        that access our vehicle solutions programs, users who are members of a fleet, and those
        who are subject to garnishments. Your use of Instant Pay may be subject to additional
        restrictions and fees; more information may be found on our Instant Pay website.




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                               (b) Availability of Instant Pay. We are not able to ensure that all
        payments are deposited instantly. The speed at which you receive payments will depend on
        your bank and other factors. If your bank rejects a payment, or it fails in our system, the
        entire amount available for cashout in your account will be routed to your regular bank
        account at vault.uber.com, and you will receive the payment typically 1-3 business days later.
        Any Instant Pay funds not cashed out by 4AM (Local time) on Mondays, or the time we
        identify, which may be subject to change, will be routed to your regular bank account at
        vault.uber.com. If you do not have access to Instant Pay, you will continue to receive
        payments as described in this addendum via direct deposit, provided we have your correct
        banking information. We are not responsible for any fees from your bank in association with
        your use of Instant Pay. We reserve the right to block access to Instant Pay at any time for any
        reason, including for improper use of our Platform, account investigation, deactivation, or
        further review of Rides completed.

                                (c)    Third-Party Provider. The Instant Pay functionality is
        facilitated by a third-party provider of payments services. By using Instant Pay, you are
        subject to any additional terms and conditions for payment imposed by the third-party
        provider, which we recommend you review.

                   4.2. Payment terms, fare calculations and payment methods are described in a
        separate fare addendum, which shall form part of this Agreement.

             5.    Term and Termination; Effect; Survival
                   5.1. Term. This Agreement is effective as of the date and time you accept it
        and will continue until terminated by you or us.

                   5.2. Termination by You. You may terminate this Agreement (a) without cause at
        any time upon seven (7) days’ prior written notice to Uber; and (b) immediately, without
        notice for Uber’s violation or alleged violation of a material provision of this Agreement. You
        can find out more about how to delete your account by navigating to help.uber.com.

                   5.3. Deactivation. You consent to and we may temporarily deactivate your
        account without notice to investigate whether you have engaged in, or your account has
        been used in, activity that is deceptive, fraudulent, unsafe, illegal, harmful to our brand,
        business or reputation, or that violates this Agreement (including the policies incorporated
        herein by reference) (any of the foregoing, a “Material Breach or Violation”). You also
        consent to and we may terminate this Agreement or permanently deactivate your account
        without notice if we determine in our discretion that a Material Breach or Violation has
        occurred.




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                    5.4. Effect of Termination and Survival. Upon termination, each party will
        remain responsible for its respective liabilities or obligations that accrued before or as a
        result of such termination. Once the Agreement is terminated you will no longer access our
        Platform to provide Rides. You agree to use commercially reasonable efforts to return any
        Uber Branded Materials, but excluding promotional materials, to an Uber Greenlight Hub or
        destroy them. Sections 1, 2.7, 2.10(b), 4, 5.4, 6-9, 12 and 13 shall survive any termination or
        expiration of this Agreement.

             6.    DISCLAIMERS
                  6.1. WE PROVIDE OUR PLATFORM AND ANY ADDITIONAL PRODUCTS OR
        SERVICES “AS IS” AND “AS AVAILABLE,” WITHOUT GUARANTEE OR WARRANTY OF ANY KIND,
        AND YOUR ACCESS TO OUR PLATFORM IS NOT GUARANTEED TO RESULT IN ANY RIDE
        REQUESTS. WE DO NOT WARRANT THAT OUR PLATFORM WILL BE ACCURATE, COMPLETE,
        RELIABLE, CURRENT, SECURE, UNINTERRUPTED, ALWAYS AVAILABLE, OR ERROR- FREE, OR
        WILL MEET YOUR REQUIREMENTS, THAT ANY DEFECTS WILL BE CORRECTED, THAT OUR
        TECHNOLOGY IS FREE OF VIRUSES OR OTHER HARMFUL COMPONENTS. WE WILL NOT BE
        LIABLE FOR ANY SERVICE INTERRUPTIONS OR LOSSES RESULTING FROM SERVICE
        INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER
        INTERRUPTIONS THAT MAY AFFECT YOUR ACCESS TO OUR PLATFORM.

                  6.2. WE PROVIDE LEAD GENERATION AND RELATED SERVICES ONLY, AND MAKE
        NO REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO THE ACTIONS OR INACTIONS
        OF THE RIDERS WHO MAY REQUEST OR ACTUALLY RECEIVE RIDES FROM YOU. WE DO NOT
        SCREEN OR EVALUATE THESE RIDERS. SOME JURISDICTIONS PROVIDE FOR CERTAIN
        WARRANTIES, SUCH AS THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
        PARTICULAR PURPOSE, ACCURACY, AVAILABILITY, SAFETY, SECURITY, AND NON-
        INFRINGEMENT. WE EXCLUDE ALL WARRANTIES TO THE EXTENT THOSE REGULATIONS
        ALLOW.

                  6.3. IF A DISPUTE ARISES BETWEEN YOU AND YOUR RIDERS OR ANY OTHER
        THIRD PARTY, YOU RELEASE US FROM LOSSES OF EVERY KIND AND NATURE, KNOWN AND
        UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND UNDISCLOSED, ARISING OUT
        OF OR IN ANY WAY CONNECTED WITH SUCH DISPUTES.

                 6.4. WE MAY USE ALGORITHMS IN AN ATTEMPT TO FACILITATE RIDES AND
        IMPROVE THE: EXPERIENCE OF USERS AND THE SECURITY AND SAFETY OF OUR PLATFORM;
        ANY SUCH USE DOES NOT CONSTITUTE A GUARANTEE OR WARRANTY OF ANY KIND,
        EXPRESSED OR IMPLIED.




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             7.     Information
        We may collect and disclose information from or about you when you create an account,
        interact with our Platform or provide Rides and as otherwise described in our Privacy Notice.
        Notwithstanding anything herein to the contrary (a) the collection, use, and disclosure of
        such information will be made in accordance with our Privacy Notice and (b) if you elect to
        provide or make available suggestions, comments, ideas, improvements, or other feedback or
        materials to us in connection with, or related to, us or our Platform, we will be free to use,
        disclose, reproduce, modify, license, transfer and otherwise distribute, and exploit any of the
        foregoing information or materials in any manner.

             8.    Confidentiality
                     8.1. Confidential Information. Each party acknowledges and agrees that in
        the performance of this Agreement it may have access to or may be exposed to, directly or
        indirectly, confidential information of the other party or third parties (“Confidential
        Information”). Confidential Information includes Rider User Information and the
        transportation volume, marketing and business plans, business, financial, technical,
        operational and such other, non-public information of each party (whether disclosed in
        writing or verbally) that such party designates as being proprietary or confidential or of which
        the other party should reasonably know that it should be treated as confidential. Confidential
        Information does not include any information that: (a) was in the receiving party’s lawful
        possession prior to the disclosure, as clearly and convincingly corroborated by written
        records, and had not been obtained by the receiving party either directly or indirectly from
        the disclosing party; (b) is lawfully disclosed to the receiving party by a third party without
        actual, implied or intended restriction on disclosure through the chain of possession, or (c) is
        independently developed by the receiving party without the use of or access to the
        Confidential Information, as clearly and convincingly corroborated by written records.

                    8.2. Obligations. Each party acknowledges and agrees that: (a) all Confidential
        Information shall remain the exclusive property of the disclosing party; (b) it shall not use
        Confidential Information of the other party for any purpose except in furtherance of this
        Agreement; (c) it shall not disclose Confidential Information of the other party to any third-
        party, except to its employees, officers, contractors, agents and service providers ("Permitted
        Persons") as necessary to perform their obligations under this Agreement, provided
        Permitted Persons are bound in writing to obligations of confidentiality and non-use of
        Confidential Information no less protective than the terms hereof; and (d) it shall return or
        destroy all Confidential Information of the disclosing party, upon the termination of this
        Agreement or at the request of the other party; subject to applicable law and our internal
        record-keeping requirements.




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                   8.3. Remedies. The unauthorized use or disclosure of any Confidential
        Information would cause irreparable harm and significant damages, the degree of which
        may be difficult to ascertain. Accordingly, the parties have the right to obtain immediate
        equitable relief to enjoin any unauthorized use or disclosure of Confidential Information
        disclosed by the other party, in addition to any other rights or remedies described in Section
        13, applicable law or otherwise.

              9.    Intellectual Property
        We reserve all rights not expressly granted in this Agreement. The Driver App, our Platform,
        and all data gathered through our Platform, including all intellectual property rights therein
        (the “Platform IP”), are and remain our property and/or that of our licensors, as applicable.
        Neither this Agreement nor your use of Uber’s or our licensors’ company names, logos,
        products or service names, trademarks, service marks, trade dress, other indicia of
        ownership, or copyrights (“Uber Names, Marks, or Works”) or the Platform IP conveys or
        grants to you any rights in or related to the Platform IP, or related intellectual property rights,
        including Uber’s Names, Marks, or Works, except for the limited license granted above. You
        shall not, and shall not allow any other party to: (a) license, sublicense, copy, modify,
        distribute, create, sell, resell, transfer, or lease any part of the Platform IP or Authorized
        Uber-Branded Materials; (b) reverse engineer or attempt to extract the source code of our
        software, except as allowed under law; (c) use, display, or manipulate any of Uber Names,
        Marks, or Works for any purpose other than to provide Rides; (d) create or register any (i)
        businesses, (ii) URLs, (iii) domain names, (iv) software application names or titles, or (v) social
        media handles or profiles that include Uber Names, Marks, or Works or any confusingly or
        substantially similar mark, name, title, or work; (e) use Uber Names, Marks, or Works as your
        social media profile picture or wallpaper; (f) purchase keywords (including, but not limited to
        Google AdWords) that contain any Uber Names, Marks, or Works; (g) apply to register,
        reference, use, copy, and/or claim ownership in Uber’s Names, Marks, or Works, or in any
        confusingly or substantially similar name, mark, title, or work, in any manner for any
        purposes, alone or in combination with other letters, punctuation, words, symbols, designs,
        and/or any creative works, except as may be permitted in the limited license granted above;
        (h) cause or launch any programs or scripts for the purpose of scraping, indexing, surveying,
        or otherwise data mining any part of our Platform or data; or (i) aggregate Uber’s data with
        competitors’.

             10. Third-Party Services
        From time to time we may permit third parties to offer their services to users of our Platform.
        Third-party services may be subject to additional terms (including pricing) that apply between
        you and the party(ies) providing such services. If you choose to access the third-party services
        you understand that the providers of the third-party services are solely responsible for




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        liabilities arising in connection with the access and use of such third-party services. While we
        may allow users to access such services through our Platform and we may collect information
        about our users’ use of such services, we may not investigate, monitor or check such
        third-party services for accuracy or completeness.

             11.  Termination of Prior Agreements
                  11.1. Prior TSA. This Section 11 only applies if you were a party to an effective
        technology services agreement (a “Prior Agreement”) with Uber immediately prior to your
        acceptance of this Agreement. Except as provided in Sections 11.2 and 13 below, you and
        Uber hereby terminate your Prior Agreement (except as provided in the survival provision of
        such agreement) and the Deprecated Documents (defined below)(collectively, “Prior
        Documents”), effective as of your acceptance of this Agreement. The parties, respectively,
        hereby waive any applicable notice requirements with respect to their termination of the
        Prior Documents.

                   11.2. Other Agreements. Notwithstanding the termination of your Prior
        Documents, you hereby (a) ratify, assume and confirm your obligations under any
        supplements or addenda, except those that are no longer required by the Requirements or
        applicable to your provision of P2P Service (“Deprecated Documents”), accepted in
        connection with your Prior Agreement that are not expressly superseded by this PAA or
        documents accepted in connection with the acceptance of this PAA, with such changes as
        may be required to effectuate the foregoing (“Continuing Documents”) and (b) acknowledge
        and agree that as of your acceptance of this Agreement such Continuing Documents are
        incorporated by reference and form a part of this Agreement. We hereby ratify, assume and
        confirm our obligations under such Continuing Documents.

             12.    Miscellaneous
                   12.1. Modification. You will only be bound by modifications or supplements to
        this PAA on your acceptance, but if you do not agree to them, you may not be allowed to
        access our Platform. Such modifications or supplements may be provided to you only via
        electronic means. From time to time we may modify information hyperlinked in this PAA (or
        the addresses where such information may be found) and such modifications shall be
        effective when posted.

                    12.2. Severability. Invalidity of any provision of this Agreement does not affect
        the rest of this Agreement. The parties shall replace the invalid or non-binding provision with
        provision(s) that are valid and binding and that have, to the greatest extent possible, a similar
        effect as the invalid or non-binding provision, given the contents and purpose of this
        Agreement.




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                    12.3. Assignment. We may freely assign or transfer this Agreement or any of our
        rights or obligations in them, in whole or in part, without your prior consent. You agree not
        to assign this Agreement, in whole or in part, without our prior written consent, and any
        attempted assignment without such consent is void.

                    12.4. Conflicts. Except with respect to the Arbitration Provision, if there is a
        conflict between this PAA and any supplemental terms between you and us, those
        supplemental terms will prevail with respect to the specific conflict if explicitly provided
        therein, and is in addition to, and a part of, this Agreement.

                   12.5. Interpretation. In this Agreement, “including” and “include” mean
        “including, but not limited to.”

                   12.6. Notice. Except as explicitly stated otherwise, any notices to us shall be
        given by certified mail, postage prepaid and return receipt requested to Uber
        Technologies, Inc., 1515 3rd Street, San Francisco, CA 94158, Attn: Legal Department. All
        notices to you may be provided electronically including through our Platform or by other
        means.

                   12.7. Governing Law. Except as specifically provided in this PAA, this PAA is
        governed by the applicable law of the state where you reside (or where your entity is
        domiciled) when you accepted this PAA (the “Governing Law”). The Governing Law shall
        apply without reference to the choice-of-law principles that would result in the
        application of the laws of a different jurisdiction.

                   12.8. Entire Agreement. Except as specifically set forth in Section 12.4 or the
        Arbitration Provision, this Agreement, constitutes the entire agreement and understanding
        with respect to the subject matter expressly contemplated herein and therein, and
        supersedes all prior or contemporaneous agreements or undertakings on this subject matter.

                  12.9. No Incorporation. Notwithstanding anything herein to the contrary, no
        agreement, term or other provision relating to your indemnification obligations to us will
        be considered incorporated by reference, or otherwise a part of, this Agreement.

                   12.10. Existing Documents. Defined terms in documents accepted in connection
        with your acceptance of this Agreement that reference a technology services agreement
        shall be deemed amended to reference analogous terms defined in this Agreement,




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        including by replacing the term “Technology Services Agreement” with “Platform Access
        Agreement”.

                   12.11. Questions. If you have questions about our Platform, you may contact us
        by logging on to drivers.uber.com and navigating to the “Contact Us” section.

            13. Arbitration Provision
        IMPORTANT: PLEASE REVIEW THIS ARBITRATION PROVISION CAREFULLY, AS IT WILL
        REQUIRE YOU TO RESOLVE DISPUTES WITH US ON AN INDIVIDUAL BASIS THROUGH FINAL
        AND BINDING ARBITRATION, EXCEPT AS PROVIDED BELOW. YOU MAY OPT OUT OF THIS
        ARBITRATION PROVISION BY FOLLOWING THE INSTRUCTIONS BELOW. THERE ARE AND/OR
        MAY BE LAWSUITS ALLEGING CLASS, COLLECTIVE, COORDINATED, CONSOLIDATED, AND/OR
        REPRESENTATIVE CLAIMS ON YOUR BEHALF AGAINST US. IF YOU DO NOT OPT OUT OF THIS
        ARBITRATION PROVISION AND THEREFORE AGREE TO ARBITRATION WITH US, YOU ARE
        AGREEING IN ADVANCE, EXCEPT AS OTHERWISE PROVIDED BELOW, THAT YOU WILL NOT
        PARTICIPATE IN AND, THEREFORE, WILL NOT SEEK OR BE ELIGIBLE TO RECOVER MONETARY
        OR OTHER RELIEF IN CONNECTION WITH, ANY SUCH CLASS, COLLECTIVE, COORDINATED,
        CONSOLIDATED, AND/OR REPRESENTATIVE LAWSUIT. THIS ARBITRATION PROVISION,
        HOWEVER, WILL ALLOW YOU TO BRING INDIVIDUAL CLAIMS IN ARBITRATION ON YOUR
        OWN BEHALF.

                   13.1.        How This Arbitration Provision Applies.
                                (a) This Arbitration Provision is a contract governed by the Federal
        Arbitration Act, 9 U.S.C. § 1 et seq., and evidences a transaction involving commerce, and you
        agree that this is not a contract of employment involving any class of workers engaged in
        foreign or interstate commerce within the meaning of Section 1 of the Federal Arbitration
        Act. If notwithstanding the foregoing, the Federal Arbitration Act does not apply to this
        Arbitration Provision, the law pertaining to arbitration agreements of the state where you
        reside when you entered into this Agreement shall apply. Except as it otherwise provides,
        this Arbitration Provision applies to any legal dispute, past, present or future, arising out of or
        related to your relationship with us or relationship with any of our agents, employees,
        executives, officers, investors, shareholders, affiliates, successors, assigns, subsidiaries, or
        parent companies (each of which may enforce this Arbitration Provision as third party
        beneficiaries), and termination of that relationship, and survives after the relationship
        terminates.

                               (b) This Arbitration Provision applies to all claims whether brought
        by you or us, except as provided below. This Arbitration Provision requires all such claims to
        be resolved only by an arbitrator through final and binding individual arbitration and not by




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        way of court or jury trial. Except as provided below regarding the Class Action Waiver and
        Representative Action Waiver, such disputes include without limitation disputes arising out of
        or relating to the interpretation, application, formation, scope, enforceability, waiver,
        applicability, revocability or validity of this Arbitration Provision or any portion of this
        Arbitration Provision.

                                (c)    Except as it otherwise provides, this Arbitration Provision also
        applies, without limitation, to disputes between you and us, or between you and any other
        entity or individual, arising out of or related to your application for and use of an account to
        use our Platform and Driver App as a driver, the P2P Service that you provide, background
        checks, your privacy, your contractual relationship with us or the termination of that
        relationship (including post-relationship defamation or retaliation claims), the nature of your
        relationship with us (including, but not limited to, any claim that you are our employee),
        trade secrets, workplace safety and health, unfair competition, compensation, minimum
        wage, expense reimbursement, overtime, breaks and rest periods, retaliation, discrimination,
        or harassment, and claims arising under the Telephone Consumer Protection Act, Fair Credit
        Reporting Act, Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 1981, 8 U.S.C. § 1324b
        (unfair immigration related practices), Americans With Disabilities Act, Age Discrimination in
        Employment Act, Fair Labor Standards Act, Worker Adjustment and Retraining Notification
        Act, Older Workers Benefits Protection Act of 1990, Occupational Safety and Health Act,
        Consolidated Omnibus Budget Reconciliation Act of 1985, federal, state or local statutes or
        regulations addressing the same or similar subject matters, and all other federal, state or
        local statutory, common law and legal claims (including without limitation, torts) arising out
        of or relating to your relationship with us or the termination of that relationship. This
        Arbitration Provision also applies to all incidents or accidents resulting in personal injury to
        you or anyone else that you allege occurred in connection with your use of our Platform and
        Driver App, regardless whether the dispute, claim, or controversy occurred or accrued before
        or after the date you agreed to this Agreement, and regardless whether you allege that the
        personal injury was experienced by you or anyone.

                   13.2.         Limitations On How This Arbitration Provision Applies.
                                 (a) To the extent required by applicable law not preempted by the
        Federal Arbitration Act, nothing in this Arbitration Provision prevents you from making a
        report to or filing a claim or charge with the Equal Employment Opportunity Commission,
        U.S. Department of Labor, U.S. Securities and Exchange Commission, National Labor
        Relations Board, or Office of Federal Contract Compliance Programs. Likewise, to the extent
        required by applicable law not preempted by the Federal Arbitration Act, nothing in this
        Arbitration Provision prevents the investigation by a government agency of any report, claim
        or charge otherwise covered by this Arbitration Provision. To the extent required by
        applicable law not preempted by the Federal Arbitration Act, this Arbitration Provision also




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        does not prevent federal administrative agencies from adjudicating claims and awarding
        remedies based on those claims, even if the claims would otherwise be covered by this
        Arbitration Provision.

                                (b) Where you allege claims of sexual assault or sexual harassment,
        you may elect to bring those claims on an individual basis in a court of competent
        jurisdiction instead of arbitration. We agree to honor your election of forum with respect to
        your individual sexual harassment or sexual assault claim but in so doing do not waive the
        enforceability of this Arbitration Provision as to any other provision (including but not
        limited to Section 13.4—Class Action Waiver—which will continue to apply in court and
        arbitration), controversy, claim or dispute.

                                (c)   To the extent an Act of Congress or applicable federal law not
        preempted by the Federal Arbitration Act provides that a particular claim or dispute may not
        be subject to arbitration, such claim or dispute is excluded from the coverage of this
        Arbitration Provision. Likewise, if the Federal Arbitration Act does not apply to a claim or
        dispute, any claims or disputes that may not be subject to arbitration under applicable state
        arbitration law will be excluded from the coverage of this Arbitration Provision.

                               (d) Impact on Pending Litigation: This Arbitration Provision shall
        not affect your standing with respect to any litigation against us brought by you or on your
        behalf that is pending in a state or federal court or arbitration as of the date of your receipt
        of this Arbitration Provision (“pending litigation”). Therefore:
                                  ●     If you are or previously were a driver authorized to use our
                                        Platform and Driver App, and at the time of your receipt of
                                        this Agreement you were not bound by an existing arbitration
                                        agreement with us, you shall remain eligible to participate in
                                        any pending litigation to which you were a party or putative
                                        class, collective or representative action member regardless of
                                        whether you opt out of this Arbitration Provision.

                                 ●    If, at the time of your receipt of this Agreement, you were
                                      bound by an existing arbitration agreement with us, that
                                      arbitration agreement will continue to apply to any pending
                                      litigation, even if you opt out of this Arbitration Provision.

                                 ●    If, at the time of your receipt of this Agreement, you were not
                                      previously a driver authorized to use our Platform and Driver
                                      App, then this Arbitration Provision will apply to covered




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                                      claims and any pending litigation unless you opt out of this
                                      Arbitration Provision as provided below.

                               (e)    Either party may apply to a court of competent jurisdiction for
        temporary or preliminary injunctive relief on the ground that without such relief the
        arbitration provided in this Arbitration Provision may be rendered ineffectual.

                   13.3.        Governing Rules, Starting The Arbitration, And Selecting The Arbitrator.
                                (a) For claims involving use of the Platform and Driver App in
        California: The ADR Services, Inc. Arbitration Rules (“ADR Rules”) will apply to arbitration
        under this Arbitration Provision; however, if there is a conflict between the ADR Rules and
        this Arbitration Provision, including but not limited to whether any arbitration may proceed
        on an individual basis, this Arbitration Provision shall govern. The ADR Rules are available by,
        for example, searching Google.com to locate “ADR Services, Inc. Rules,” or by clicking here:
        https://www.adrservices.com/services/arbitration-rules/. If, for any reason, ADR Services,
        Inc. will not administer the arbitration and the parties cannot mutually agree on a neutral
        arbitration provider, either party may invoke 9 U.S.C. § 5 to request that a court of
        competent jurisdiction appoint an arbitration provider with operations in California. Any
        arbitration provider appointed by a court under 9 U.S.C. § 5 shall conduct arbitration solely
        on an individualized basis. Once an arbitration provider is appointed under 9 U.S.C. § 5, or
        the parties mutually agree upon a neutral arbitration provider, the ensuing arbitration shall
        commence pursuant to the rules of the designated arbitration provider; however, if there is
        a conflict between the rules of the designated arbitration provider and this Arbitration
        Provision, including but not limited to whether any arbitration may proceed on an individual
        basis, this Arbitration Provision shall govern.

                                 (b) For claims involving use of the Platform and Driver App outside
        California: The parties shall be required to meet and confer to select a neutral arbitration
        provider. Such an arbitration provider shall have operations in the state in which the dispute
        arises. If the parties are unable to mutually agree upon an arbitration provider, then either
        party may invoke 9 U.S.C. § 5 to request that a court of competent jurisdiction appoint an
        arbitration provider with operations in the state in which the dispute arises. Any arbitration
        provider appointed by a court under 9 U.S.C. § 5 shall conduct arbitration solely on an
        individualized basis. Once the parties mutually agree upon a neutral arbitration provider, or
        an arbitration provider is appointed under 9 U.S.C. § 5, the ensuing arbitration shall
        commence pursuant to the rules of the designated arbitration provider; however, if there is
        a conflict between the rules of the designated arbitration provider and this Arbitration
        Provision, including but not limited to whether any arbitration may proceed on an individual
        basis, this Arbitration Provision shall govern.




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                               (c)     Prior to commencing arbitration with the applicable arbitration
        provider, the party bringing the claim in arbitration must first demand arbitration in writing
        within the applicable statute of limitations period. The demand for arbitration shall include
        identification of the parties (including, if you are bringing the claim, the phone number and
        email address associated with your driver account, and the city in which you reside), a
        statement of the legal and factual basis of the claim(s), and a specification of the remedy
        sought and the amount in controversy. Any demand for arbitration made to us shall be sent
        to Uber Technologies, Inc., Attn: Legal Department, 1515 3rd Street, San Francisco, CA 94158,
        or served upon Uber’s registered agent for service of process, c/o Uber Technologies, Inc. (the
        name and current contact information for the registered agent in each state are available
        online here). Any demand for arbitration made to you shall be sent via electronic email to
        the email address associated with your driver account.

                                (d) The parties agree that good-faith informal efforts to resolve
        disputes often can result in a prompt, low-cost, and mutually beneficial outcome. The
        parties therefore agree that, before the arbitration demand is submitted to the applicable
        arbitration provider, the party bringing the claim shall first attempt to informally negotiate
        with the other party, in good faith, a resolution of the dispute, claim or controversy between
        the parties for a period of 60 days (“negotiation period”), unless extended by mutual
        agreement of the parties. During the negotiation period, any otherwise applicable statute of
        limitations shall be tolled. In connection with informal negotiations during the negotiation
        period, the parties shall participate telephonically or in person in at least one informal
        dispute resolution conference. All informal dispute resolution conferences shall be
        individualized such that a separate conference must be held each time either party intends
        to commence individual arbitration; multiple individuals initiating claims cannot participate
        in the same informal dispute resolution conference. If either party is represented by
        counsel, that party’s counsel may participate in the informal dispute resolution conference,
        but the party also must appear at and participate in the conference. Engaging in an informal
        dispute resolution conference is a condition precedent that must be fulfilled before
        commencing individual arbitration. If the parties cannot reach an agreement to resolve the
        dispute, claim or controversy within the negotiation period, the party bringing the claim shall
        submit the arbitration demand to the applicable arbitration provider.

                                (e) To commence arbitration following the conclusion of the
        informal dispute resolution process required by Section 13.3(d), the party bringing the
        claim must file the written demand for arbitration with the applicable arbitration provider
        and serve a copy of the demand for arbitration on Uber as set forth in Section 13.3(c) and
        by email to any counsel who represented Uber in the informal dispute resolution process.
        By filing the arbitration demand with the applicable arbitration provider, the party bringing
        the claim in arbitration certifies that the demand complies with Rule 11 of the Federal




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        Rules of Civil Procedure and any applicable state law equivalent.

                                (f)    If the parties reach agreement on an arbitrator not affiliated with
        the applicable arbitration provider or to use procedures either not specified in or in lieu of
        the applicable arbitration provider’s rules (as modified by this Arbitration Provision), any such
        agreement shall be memorialized in writing before arbitration is commenced. If the parties
        are unable to agree upon an arbitrator after a good faith meet and confer effort, then the
        applicable arbitration provider will appoint the arbitrator in accordance with its rules. The
        arbitrator will be selected from the applicable arbitration provider’s roster of arbitrators. Any
        arbitrator selected must be either (1) a retired judge or (2) an attorney licensed to practice
        law in the state where the arbitration is conducted with experience in the law underlying the
        dispute.

                               (g) Delivering a written arbitration demand to the other party will
        not relieve the party bringing the claim of the obligation to commence arbitration as
        described above. It shall always be the obligation of the party bringing the claim to
        commence arbitration.

                               (h) Mass arbitration dispute procedure: If 20 or more arbitration
        demands of a substantially similar nature are initiated against you or us within a 180-day
        period by the same law firm or collection of law firms that represents the other party
        (“mass arbitration demands”), the following procedure shall apply. At the request of either
        party, an arbitrator shall be selected pursuant to the applicable arbitration provider’s rules
        for selection of an arbitrator to act as a special master (“Special Master”) to resolve
        threshold disputes regarding the propriety of some or all the mass arbitration demands.
        These threshold disputes may include, but are not limited to:
                                  (1) any dispute regarding filing fees owed with respect to the
                                        mass arbitration demands, including whether claimants have
                                        submitted valid fee waivers;
                                  (2) any dispute regarding whether the applicable arbitration
                                        provider has complied with the Arbitration Provision with
                                        respect to processing and administering the mass arbitration
                                        demands;
                                  (3) any dispute regarding whether the mass arbitration demands
                                        meet the requirements set forth in Section 13.3(c) or (e)
                                        above;
                                  (4) any dispute regarding whether the demands have complied
                                        with all conditions precedent to commencing arbitration,
                                        including compliance with the informal dispute resolution




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                                      process described in Section 13.3(d) above;
                                 (5) any dispute regarding whether claimants have ever had a
                                      driver account;
                                 (6) any dispute regarding whether claimants are barred from
                                      proceeding with their claims based on a prior settlement
                                      agreement or expiration of the statute of limitations;
                                 (7) any dispute relating to representation of the same claimant
                                      by multiple law firms;
                                 (8) any dispute regarding whether the mass arbitration demands
                                      were filed with the correct arbitration provider;
                                 (9) any dispute regarding whether the mass arbitration demands
                                      violate Rule 11 of the Federal Rules of Civil Procedure and/or
                                      any applicable state law equivalent; and
                                 (10) any other dispute or issue regarding the equitable and
                                      efficient initial case management of the mass arbitration
                                      demands, including, but not limited to, the timing and/or
                                      sequence of payment of any remaining filing or administrative
                                      fees or costs related to the mass arbitration demands.

                                  Any request to appoint a Special Master pursuant to this procedure
        must be submitted in writing to the applicable arbitration provider, with a copy to the other
        party, within fifteen (15) days after filing and service (as described in Section 13.3(e)) of any
        arbitration demand that qualifies as part of the same group of mass arbitration demands
        within the meaning of this Section 13.3(h) (i.e., 20 or more arbitration demands of a
        substantially similar nature initiated within a 180 day period by the same law firm or
        collection of law firms. Mass arbitration demands initiated by a different law firm or
        collection of law firms shall be considered a separate group of mass arbitration demands
        and shall be administered separately). For the sake of clarity, the request to appoint a
        Special Master need not be submitted in response to the first arbitration demand that
        triggers the mass arbitration dispute procedure (i.e., the 20th demand), and the request is
        subject only to the limitations set forth in this Section 13.3(h).

                                  Except as provided below, during the fifteen (15) day period
        following the filing and service of any arbitration demand that qualifies as part of the same
        group of mass arbitration demands, the arbitration provider shall refrain from further
        processing of any demands that are part of the same group of mass arbitration demands,
        and no further payment (i.e., other than amounts required to be paid by the party initiating
        arbitration at the time the arbitration demand is filed) for filing fees, administrative fees or
        costs, or Arbitrator fees shall be deemed due with respect to those demands. A party’s




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        decision not to invoke this procedure in response to a particular arbitration demand shall
        not constitute a waiver of any defense to any arbitration demand. Likewise, a party’s
        decision not to invoke this procedure in response to a particular demand will not preclude
        the same party from later invoking this procedure in response to any other arbitration
        demand, including one that qualifies as part of the same group of mass arbitration
        demands as an earlier-filed demand.

                              The written request to appoint a Special Master must specify the
        arbitration demands and threshold disputes that will be submitted to the Special Master.

                                  Upon the request of either party to appoint a Special Master to
        resolve the foregoing issues, the applicable arbitration provider shall refrain from further
        processing any of the mass arbitration demands as to which a dispute has been raised.
        Except for the filing fees, administrative fees or costs, or arbitrator fees that have already
        been assessed by the arbitration provider at the time the request to appoint a Special
        Master is made, no payment for filing fees, administrative fees or costs, or arbitrator fees
        shall be deemed due with respect to any of the mass arbitration demands as to which a
        dispute has been raised until after the dispute(s) has/have been resolved by the Special
        Master. Notwithstanding the foregoing, Uber shall be responsible for and agrees to pay the
        applicable arbitration provider’s and Special Master’s fees and costs related to the
        proceedings before the Special Master.

                                 If timely requested by either party, any arbitration demand that is
        part of the same group of mass arbitration demands and to which a dispute has been raised
        shall be included as part of the same Special Master matter, even if a Special Master matter
        is already pending at the time that arbitration demand is filed, except that (i) a demand
        cannot be included if an arbitrator has already been selected for that individual demand as
        provided in Section 13.3(f); and (ii) a demand that might otherwise be considered part of
        the same group of mass arbitration demands that is filed after proceedings before a Special
        Master have concluded shall be considered part of a different group of mass arbitration
        demands.

                                 A Special Master appointed pursuant to this procedure may award
        any party any appropriate remedy to which that party is entitled under applicable law
        (including, but not limited to, as set forth in Section 13.7) with respect to the issues
        presented to and decided by the Special Master, but shall have no authority to consolidate
        cases or decide issues related to the merits of the dispute or any other issue except as
        specified above. After proceedings before the Special Master have concluded, to the extent
        any of the mass arbitration demands are permitted to proceed, all such demands shall
        proceed on an individual basis only, and the applicable arbitration provider must administer




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        them individually in accordance with the applicable arbitration provider’s rules and this
        Arbitration Provision.

                                (i)   All claims in arbitration are subject to the same statutes of
        limitation that would apply in court. The arbitrator (which includes the Special Master,
        as applicable) shall resolve all disputes regarding the timeliness or propriety of the
        demand for arbitration, except that the statute of limitations and any filing fee
        deadlines shall be tolled while the parties engage in the informal dispute resolution
        process required by Section 13.3(d).

                                (j)     Only an arbitrator, and not any federal, state, or local court
        or agency, shall have exclusive authority to resolve any dispute arising out of or relating
        to the interpretation, applicability, enforceability, or formation of this Arbitration
        Provision, including without limitation any claim that all or part of this Arbitration
        Provision is void or voidable. An arbitrator shall also have exclusive authority to resolve
        all threshold arbitrability issues. However, only a court of competent jurisdiction, and
        not an arbitrator, shall have exclusive authority to resolve any and all disputes arising
        out of or relating to the Class Action Waiver and/or Representative Action
        Waiver—including, but not limited to, any claim that all or part of the Class Action
        Waiver and/or Representative Action Waiver is unenforceable, unconscionable, illegal,
        void, or voidable, or that a breach of either such Waiver has occurred.

                     13.4. Class Action Waiver.
                                (a)    This Arbitration Provision affects your ability to participate in
        class, collective, coordinated, or consolidated actions. Both Uber and you agree that any
        and all disputes or claims between the parties shall be resolved only in individual arbitration,
        and not on a class, collective, coordinated, or consolidated basis on behalf of others. There
        will be no right or authority for any dispute (whether brought by you or us, or on your or our
        behalf) to be brought, heard, administered, resolved, or arbitrated as a class, collective,
        coordinated, or consolidated action, or for you or us to participate as a member in any such
        class, collective, coordinated, or consolidated proceeding. Neither an arbitrator nor an
        arbitration provider shall have authority to hear, arbitrate, or administer any class, collective,
        coordinated, or consolidated action, or to award relief to anyone but the individual in
        arbitration.

                               (b) Notwithstanding any other provision of this Arbitration
        Provision or the applicable arbitration provider’s rules, this Class Action Waiver does not
        prevent you or us from participating in a classwide, collective, coordinated, or consolidated
        settlement of claims.




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                             (c)    This Class Action Waiver does not and shall not be construed to
        preclude the mass arbitration dispute procedure set forth in Section 13.3(h).

                                (d) The parties further agree that if for any reason a claim does not
        proceed in arbitration, this Class Action Waiver shall remain in effect, and a court may not
        preside over any action joining or consolidating the claims of multiple individuals against
        Uber in a single proceeding. If there is a final judicial determination that any portion of this
        Class Action Waiver is unenforceable or unlawful for any reason, (1) any class, collective,
        coordinated, or consolidated action subject to the enforceable or unlawful portion(s) shall
        proceed in a court of competent jurisdiction; (2) the portion of the Class Action Waiver that
        is enforceable shall be enforced in arbitration; (3) the unenforceable or unlawful portion(s)
        shall be severed from this Arbitration Provision; and (4) the severance of the unenforceable
        or unlawful portion(s) shall have no impact whatsoever on the enforceability, applicability, or
        validity of the Arbitration Provision or the arbitrability of any remaining claims asserted by
        you or us.

                   13.5.        Representative Action Waiver.
                                (a) This Arbitration Provision affects your ability to participate in
        representative actions. To the maximum extent provided by law, both Uber and you agree
        that any and all disputes or claims between the parties shall be resolved only in individual
        arbitration, and not on a representative basis. The parties expressly waive their right to have
        any dispute or claim brought, heard, administered, resolved, or arbitrated as a representative
        action, or to participate in any representative action, including but not limited to claims
        brought under any state’s Private Attorneys General Act. The parties also expressly waive
        their right to seek, recover, or obtain any non-individual relief. There will be no right or
        authority for any dispute (whether brought by you or us, or on your or our behalf) to be
        brought, heard, administered, or arbitrated as a representative action, or for you or us to
        participate as a member in any such representative proceeding.

                               (b) Notwithstanding any other provision of this Arbitration Provision
        or the applicable arbitration provider’s rules, this Representative Action Waiver does not
        prevent you or us from participating in a representative settlement of claims.

                             (c)   This Representative Action Waiver does not and shall not be
        construed to preclude the mass arbitration dispute procedure set forth in Section 13.3(h).

                             (d) If there is a final judicial determination that any portion of this
        Representative Action Waiver is unenforceable or unlawful for any reason, (1) any




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        representative claim subject to the enforceable or unlawful portion(s) shall proceed in a court
        of competent jurisdiction; (2) the portion of the Representative Action Waiver that is
        enforceable shall be enforced in arbitration; (3) the unenforceable or unlawful portion(s) shall
        be severed from this Arbitration Provision; and (4) the severance of the unenforceable or
        unlawful portion(s) shall have no impact whatsoever on the enforceability, applicability, or
        validity of the Arbitration Provision or the arbitrability of any remaining claims asserted by
        you or us.

                                (e) Disputes regarding the nature of your relationship with us
        (including, but not limited to, any claim that you are an employee of us), as well as any claim
        you bring on your own behalf as an aggrieved worker for recovery of underpaid wages or
        other individualized relief (as opposed to a representative claim for civil penalties) are
        arbitrable and must be brought in arbitration on an individual basis only, as required by this
        Arbitration Provision. You agree that any representative claim that is permitted to proceed
        in a civil court of competent jurisdiction must be stayed pending the arbitration of your
        dispute regarding the nature of your relationship with us and any claim you bring on your
        own behalf for individualized relief.

                   13.6.       Paying For The Arbitration.
                               (a) Except in the case of offers of judgment (such as under Federal
        Rule of Civil Procedure 68 or any applicable state law equivalents, which apply to
        arbitrations under this Arbitration Provision as set forth in Section 13.6(d) below), each
        party will pay the fees for its, his or her own attorneys and any costs that are common to
        both court and arbitration proceedings (such as court reporter costs and transcript fees),
        subject to any remedies to which that party may later be entitled under applicable law.

                                 (b) Each party shall follow the applicable arbitration provider’s
        rules applicable to initial arbitration filing fees, except that your portion of any initial
        arbitration filing fee shall not exceed the amount you would be required to pay to initiate a
        lawsuit in federal court in the jurisdiction where the arbitration will be conducted. To the
        extent a fee waiver is sought, it must include all information and be submitted in the
        appropriate form required by applicable law. Except as specified in the mass arbitration
        dispute procedure set forth in Section 13.3(h), after (and only after) you have paid your
        portion of any initial arbitration filing fee, we will make up the difference, if any, between
        the fee you have paid and the amount required by the applicable arbitration provider’s
        rules.

                              (c)    In all cases where required by applicable law not preempted
        by the FAA, we will pay the arbitrator's fees, as well as all fees and costs uniquely




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        associated with arbitration (such as room rental). Otherwise, such fee(s) will be
        apportioned between the parties in accordance with said applicable law and this
        Arbitration Provision, and any disputes in that regard will be resolved by the arbitrator
        (which includes the Special Master, as applicable). You agree to not oppose any
        negotiations between the applicable arbitration provider and Uber relating only to our
        fees.

                                  (d) At least 10 days before the date set for the arbitration
        hearing, any party may serve an offer in writing upon the other party to allow judgment
        on specified terms. If the offer is accepted, the offer with proof of acceptance shall be
        submitted to the arbitrator, who shall enter judgment accordingly. If the offer is not
        accepted prior to the arbitration hearing or within 30 days after it is made, whichever
        occurs first, it shall be deemed withdrawn, and cannot be given in evidence upon the
        arbitration. If an offer made by Uber is not accepted by you, and you fail to obtain a more
        favorable award, you shall not recover your post-offer costs and shall pay Uber’s costs
        from the time of the offer.

                    13.7. The Arbitration Hearing And Award.
                                (a)   Within 30 days of the close of the arbitration hearing, any party
        will have the right to prepare, serve on the other party and file with the arbitrator a brief.
        The arbitrator may award any party any remedy to which that party is entitled under
        applicable law, but such remedies shall be limited to those that would be available to a party
        in his or her individual capacity in a court of law for the claims presented to and decided by
        the arbitrator.

                              (b) The arbitrator shall apply applicable controlling law and will
        issue a decision or award in writing, stating the essential findings of fact and conclusions of
        law.

                               (c)    Under no circumstances is the arbitrator bound by decisions
        reached in separate arbitrations. The arbitrator’s decision, including any decision by a Special
        Master (as applicable), shall be binding only upon the parties to the arbitration that are the
        subject of the decision.

                               (d) The arbitrator shall award reasonable costs incurred in the
        arbitration to the prevailing party in accordance with the law(s) that applies to the case.

                              (e)   The arbitrator shall be authorized to afford any relief or impose
        any sanctions available under Federal Rule of Civil Procedure 11 or any applicable state law




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        equivalent.

                                (f)   A court of competent jurisdiction shall have the authority to
        enter a judgment upon the award made pursuant to the arbitration. The arbitrator’s findings
        of fact and conclusions of law shall not be binding or have any preclusive effect on any other
        arbitration, except as specified in and limited by Section 13.3(h).

                   13.8.         Your Right To Opt Out Of This Arbitration Provision
                                 (a) Agreeing to this Arbitration Provision is not a mandatory
        condition of your contractual relationship with us. If you do not want to be subject to this
        Arbitration Provision, you may opt out of this Arbitration Provision (subject to the pending
        litigation provision in Section 13.2, and the limitations set forth in this Section 13.8). To do
        so, within 30 days of the date that this Agreement is electronically accepted by you, you
        must send an electronic email from the email address associated with your driver account
        to optout@uber.com, stating your intent to opt out of this Arbitration Provision, as well as
        your name, the phone number associated with your driver account, and the city in which
        you reside.

                               (b) An email sent by your agent or representative (including your
        counsel) shall not be effective. Your email may opt out yourself only, and any email that
        purports to opt out anyone other than yourself shall be void as to any others. Should you
        not opt out of this Arbitration Provision within the 30-day period, you and Uber shall be
        bound by the terms of this Arbitration Provision. You will not be subject to retaliation if
        you exercise your right to opt out of this Arbitration Provision.

                                (c)   Any opt out of this Arbitration Provision does not affect
        the validity of any other arbitration agreement between you and us. If you opt out of
        this Arbitration Provision and at the time of your receipt of this Agreement you were
        bound by an existing agreement to arbitrate disputes arising out of or related to your
        use of our Platform and Driver App, that existing arbitration agreement will remain in
        full force and effect.

                                 (d) Neither your acceptance of this Agreement nor your decision
        to opt out of this Arbitration Provision will affect any obligation you have to arbitrate
        disputes not specified in this Arbitration Provision pursuant to any other agreement you
        have with us or any of our subsidiaries or affiliate entities. Likewise, your acceptance of or
        decision to opt out of any other arbitration agreement you have with us or any of our
        subsidiaries or affiliate entities shall not affect any obligation you have to arbitrate claims
        pursuant to this Arbitration Provision.




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                    13.9. Enforcement Of This Arbitration Provision. You have the right to consult
        with counsel of your choice concerning this Arbitration Provision and to be represented by
        counsel at any stage during the arbitration process. Except as provided in Sections 13.2 and
        13.8 of this Arbitration Provision, and/or unless this Arbitration Provision is deemed invalid,
        unenforceable, or inapplicable, this Arbitration Provision replaces prior agreements regarding
        the arbitration of disputes and is the full and complete agreement relating to the formal
        resolution of disputes covered by this Arbitration Provision. In the event any portion of this
        Arbitration Provision is deemed unenforceable, the remainder of this Arbitration Provision
        will be enforceable. This Arbitration Provision will survive the termination of your
        relationship with us, and it will continue to apply if your relationship with us is ended but
        later renewed.




           By clicking “Yes, I agree,” I expressly acknowledge that I have read, understood, and
         considered the consequences of this Agreement, that I agree to be bound by the terms of
         this Agreement, and that I am legally competent to enter into this Agreement with Uber.




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    RASIER,	  LLC  
      
    ADDENDUM	  TO	  SERVICES	  AGREEMENT	    
      
    Last	  update:	  April	  7,	  2016  
      
    You	  entered	  into	  a	  Services	  Agreement	  with	  Rasier,	  LLC	  or	  one	  of	  its	  Affiliates	  (“Company”)	  for	  the	  use	  of	  the	  Uber	  
    Services	  in	  connection	  with	  your	  Transportation	  Services	  (the	  “Agreement”).	  This	  is	  an	  addendum	  to	  that	  
    Agreement	  and	  sets	  forth	  additional	  terms	  and	  conditions	  that	  are	  applicable	  in	  the	  Territory	  in	  which	  you	  provide	  
    Transportation	  Services.	  All	  other	  terms	  of	  the	  Agreement	  remain	  in	  full	  force	  and	  effect	  except	  as	  modified	  by	  this	  
    Addendum.	  By	  clicking	  “I	  agree”,	  you	  agree	  to	  be	  bound	  by	  the	  additional	  terms	  below.	  Capitalized	  terms	  used	  
    herein	  but	  not	  defined	  shall	  have	  the	  meanings	  ascribed	  to	  them	  in	  the	  Agreement.  
      
    DRIVER	  DESTINATIONS.	  	    
      
           1.  Driver	  Destinations	  Feature.	  	  Company	  is	  offering	  the	  ability	  for	  you	  to	  receive	  certain	  requests	  for	  
                 Transportation	  Services	  from	  Users	  when	  you	  are	  traveling	  to,	  and	  pre-­‐select	  in	  the	  Driver	  App,	  a	  specific	  
                 destination	  (the	  “Driver	  Destinations	  Feature”).	  If	  you	  elect	  to	  use	  the	  Driver	  Destinations	  Feature,	  after	  
                 entering	  your	  destination	  in	  the	  Driver	  App,	  you	  will	  have	  the	  ability	  to	  receive	  requests	  from	  Users	  for	  
                 Transportation	  Services	  based	  on	  your	  and	  a	  particular	  User’s	  trip	  destination.	  In	  such	  instances,	  you	  will	  
                 receive	  requests	  from	  Users	  for	  Transportation	  Services	  where	  such	  Users	  have	  entered	  their	  destination	  
                 when	  requesting	  Transportation	  Services	  in	  the	  Uber	  mobile	  application	  and	  where	  their	  destination	  is	  
                 along	  your	  pre-­‐selected	  route.	  User	  requests	  for	  Transportation	  Services	  with	  destinations	  that	  are	  not	  
                 along	  your	  pre-­‐selected	  route	  will	  not	  be	  presented	  to	  you.	  Unless	  otherwise	  allowed	  by	  Company,	  you	  
                 will	  have	  the	  ability	  to	  utilize	  the	  Driver	  Destinations	  Feature	  up	  to	  two	  (2)	  times	  per	  day.	  
                 	  
           2.  Driver	  Destinations	  Fares.	  	  When	  you	  elect	  to	  utilize	  the	  Driver	  Destinations	  Feature,	  you	  will	  receive	  a	  
                 User’s	  request	  for	  Transportation	  Services	  via	  the	  Driver	  App	  along	  with	  a	  guaranteed	  (subject	  to	  the	  
                 remainder	  of	  this	  Section	  2)	  upfront	  fare	  amount	  for	  such	  instance	  of	  Transportation	  Services	  (the	  “Driver	  
                 Destinations	  Fare”).	  The	  Driver	  Destinations	  Fare	  will	  be	  the	  total	  amount	  you	  will	  receive	  in	  connection	  
                 with	  this	  instance	  of	  Transportation	  Services	  (any	  amounts	  retained	  by	  Company	  as	  well	  as	  any	  other	  
                 applicable	  fees	  and	  surcharges	  will	  have	  already	  been	  deducted)	  and	  is	  calculated	  taking	  into	  account	  
                 various	  factors	  including	  trip	  distance,	  estimated	  time,	  amount	  of	  deviation	  from	  the	  route	  of	  your	  pre-­‐
                 selected	  destination,	  and	  the	  User’s	  pickup	  and	  dropoff	  locations.	  You	  acknowledge	  and	  agree	  that	  the	  
                 Driver	  Destinations	  Fare	  is	  determined	  in	  a	  different	  manner	  than,	  and	  is	  in	  lieu	  of,	  the	  Fare	  under	  the	  
                 Agreement.	  If	  a	  User’s	  actual	  destination	  deviates	  from	  their	  pre-­‐selected	  destination,	  the	  Driver	  
                 Destinations	  Fare	  will	  revert	  to	  a	  typical	  Fare	  as	  forth	  in	  the	  Agreement	  instead	  of	  the	  Driver	  Destinations	  
                 Fare.	  By	  accepting	  a	  User’s	  request	  for	  Transportation	  Services	  using	  the	  Driver	  Destinations	  Feature,	  you	  
                 acknowledge	  and	  agree	  that	  you	  will	  not	  receive	  a	  Fare	  as	  defined	  in	  the	  Agreement	  and	  instead	  will	  
                 receive	  the	  Driver	  Destinations	  Fare	  as	  full	  and	  complete	  compensation	  for	  these	  particular	  instances	  of	  
                 Transportation	  Services.	  No	  promotions	  or	  incentives	  are	  available	  for	  instances	  of	  Transportation	  
                 Services	  utilizing	  the	  Driver	  Destinations	  Feature.	  
    	  
    	  
      
                 	  
                   
      




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         P2P SERVICES ONLY

         CITY ADDENDUM

         Florida

         Effective as of: January 1, 2022

         You entered into an agreement with Rasier-DC, LLC for your use of certain software or other
         services. This is an addendum to that agreement and it sets forth additional terms and conditions
         that are applicable in the state of Florida. By clicking “I accept”, you acknowledge that you have read
         and understand the below disclosures.


          1. INSURANCE COVERAGE. Company maintains during the terms of this agreement insurance
             related to your provision of passenger Transportation Services with the following coverage and
             limits of liability:

                   a. While logged onto the Uber application provided by Company and available to receive
                      User requests, but prior to being matched with a User, Company maintains primary
                      automobile liability insurance in the amount of $50,000 for death and bodily injury per
                      person, $100,000 for death and bodily injury per incident and $25,000 for property
                      damage. In addition, during this period Company maintains Personal Injury Protection
                      coverage in amounts required by law.

                   b. Beginning when a User request for transportation has been accepted within the
                      Uber application and ending when the last requesting User departs from your
                      vehicle, a trip is ended, or a trip is cancelled, whichever is later, Company
                      maintains primary automobile liability insurance in the amount of $1,000,000 for
                      death, bodily injury and property damage. In addition, during this period
                      Company maintains Medical Payments coverage in the amount of $5,000 per
                      insured. If a driver holds Comprehensive and Collision coverage on his/her
                      personal auto policy, then Company also maintains coverage for physical
                      damage to the vehicle with a $2,500 deductible.

          2. REQUIRED NOTICES. Company is required by law to make you aware of, and you
             must acknowledge, the following statutory requirements in the state of Florida: Your own
             automobile insurance policy might not provide any coverage while you are logged on to
             the digital network or are engaged in a prearranged ride, depending on the terms of your
             own automobile insurance policy. The provision of rides for compensation which are not
             prearranged rides subjects you to the coverage requirements imposed under s.
             324.032(1), Florida Statutes, and failure to meet such coverage requirements subjects
             you to penalties provided in s. 324.221, Florida Statutes, up to and including a
             misdemeanor of the second degree.

          3. YOUR INSURANCE. Company may at any time verify or obtain proof of insurance and
             other policy information about your insurance, including from your insurance provider or
             other third parties.




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                                          Fare Addendum
                                                                     Updated as of April 4, 2022



       You entered into a Platform Access Agreement (the “PAA”) by and among you and your
       company/business (“you”) and the following entity as applicable, based on the region
       specified: Uber Technologies, Inc. in California; Rasier-PA, LLC in Pennsylvania;
       Rasier-DC, LLC in Florida; Rasier-MT, LLC in Montana; Rasier-NY in New York;
       Hinter-NM, LLC in New Mexico; and Rasier, LLC in all other U.S. states, territories and
       possessions (collectively, “Uber”). This is an addendum to the PAA and contains
       information about fare and payment terms. This addendum is effective as of the date
       and time you accept it.


       Capitalized terms used herein but not defined shall have the meanings ascribed to
       them in the PAA. For the sake of clarity and depending on the context, references to
       “Uber”, “we”, “our”, and “us” may also refer to the appropriate Uber-affiliated
       contracting entity accordingly or Uber collectively.


       By clicking “Yes, I agree,” you agree to be bound by the additional terms below as of the
       date of your acceptance. Upon acceptance this addendum is incorporated by reference
       and a part of the PAA. Except where modified above, the remainder of the PAA shall
       remain unchanged. This addendum replaces and supersedes any previous addendum
       that you have accepted related to the subject matter described herein.


       Fares; Gratuity Uber enables you, through the Driver App, to charge your Rider(s) a
       “Fare” for each Ride. The Fare may be calculated using a base amount and amounts
       that are based on the estimated or actual distance and/or time of the Ride. The Fare
       may (i) include additional fees or a portion thereof paid by a Rider, such as a fee based
       on certain trip attributes (e.g., wait time fees), and (ii) be adjusted based on
       marketplace factors, such as supply and demand. Additionally, the Fare does not
       include fees payable by Riders directly to Uber (“Direct Fees”) as applicable and does
       not include certain taxes and fees payable to a governmental entity. For the
       avoidance of doubt, on a canceled trip, the Fare may be the cancellation fee or a
       portion thereof charged to a Rider.


       On certain trips, when you receive a Ride request, our Platform may surface a pre-trip
       Fare. You accept this pre-trip Fare by accepting the Ride request. The pre-trip Fare
       may be adjusted if the length or duration of the trip deviates from the estimated length




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       P2P	  SERVICES	  ONLY	  
       	  
       ADDENDUM	  	  
       	  
       FLORIDA	  
       	  
       Last	  update:	  September	  25,	  2015	  
       	  
       You	  entered	  into	  an	  agreement	  with	  Rasier,	  LLC	  for	  your	  use	  of	  certain	  software	  or	  other	  
       services.	  This	  is	  an	  addendum	  to	  that	  agreement	  and	  sets	  forth	  additional	  terms	  and	  conditions	  
       that	  are	  applicable	  in	  the	  state	  of	  Florida.	  	  By	  clicking	  “I	  accept”,	  you	  agree	  to	  be	  bound	  by	  the	  
       additional	  terms	  below.	  	  
       	  
       1.   Florida	  Seat	  Belt	  Law	  Notice.	  

                 Florida	  law	  states	  that	  front	  seat	  passengers	  must	  wear	  seat	  belts.	  This	  law	  applies	  to	  any	  
                 car	  manufactured	  since	  1968.	  In	  addition,	  all	  passengers	  under	  18	  years	  old	  must	  wear	  a	  
                 seat	  belt	  or	  be	  otherwise	  restrained	  by	  a	  child	  car	  seat.	  It	  is	  against	  the	  law	  to	  operate	  a	  
                 vehicle	  if	  all	  the	  passengers	  do	  not	  meet	  these	  standards.	  
       	  
                 The	  Florida	  seat	  belt	  laws	  apply	  at	  all	  times.	  Regardless	  if	  you	  are	  on	  a	  short	  trip	  in	  your	  
                 neighborhood	  or	  driving	  hundreds	  of	  miles	  on	  the	  turnpike	  -­‐	  always	  wear	  your	  seat	  belt.	  
       	  
       2.        Contracting	  Party.	  	  Notwithstanding	  anything	  to	  the	  contrary	  in	  your	  agreement,	  this	  
                 Addendum	  is	  being	  provided	  to	  clarify	  that	  if	  your	  territory	  is	  within	  the	  State	  of	  Florida,	  
                 your	  contract	  is	  between	  you	  and	  Rasier-­‐DC,	  LLC	  rather	  than	  Rasier,	  LLC.	  
                 	  
                 	  
                 	  
       	  
                 	  




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       or duration that was used to calculate the pre-trip Fare. If you do not receive a pre-trip
       Fare, the Fare will be based on rates, which may include per-minute or per-mile rates,
       that will be made available to you. We will provide you with notice of any changes to
       these rates and by continuing to accept Ride requests, you are deemed to have
       accepted those changes.


       The Fare is a recommended amount. You shall always have the right to: (i) charge a
       Fare that is less than the pre-trip Fare; or (ii) negotiate, at your request, a Fare that is
       lower than the pre-trip Fare (each of (i) and (ii) herein, a “Negotiated Fare”). Absent a
       request for a Negotiated Fare, the Fare recommended by Uber shall be the amount
       used in the transaction. We will consider all such Negotiated Fare requests from you in
       good faith.


       Fares do not include gratuity, and receiving a gratuity is not guaranteed. Rather, Riders
       may, in their sole discretion, decide to pay you a gratuity. Uber will not take any portion
       of your gratuity except as described below. If any gratuity is remitted using our
       application, it shall be included with other monies you may be entitled to receive.


       Driver Payment Any gratuity paid to you by a Rider is your property and, if remitted
       using our application, shall be remitted to you along with Fares, estimated tolls, and any
       taxes or other fees or surcharges that you may be entitled to receive for your Rides
       (collectively, “Driver Payment”).


       Promotions From time to time, you may be offered certain promotions to use our
       Platform. These promotions will be governed by separate terms and conditions
       provided to you in connection with those promotion offers.


       Our Service Fees In consideration for services connecting you to Riders and related
       services, including payment processing, you will pay us (and/or permit us to collect from
       the Rider Payment) a service fee (“Service Fee”). For the avoidance of doubt, you will
       not be charged a fee to access our Platform. Unless we indicate to you otherwise, the
       Service Fee that will be charged to you on a per-Ride basis shall equal the Rider
       Payment (defined below) minus: (a) the Fare, (b) any gratuity, and (c) other items,
       including but not limited to, (i) Direct Fees, (ii) applicable estimated taxes, tolls, and
       surcharges, (iii) fees retained by us, and (iv) any other payments to you included on the
       per-trip receipt, which may include per-trip promotions ((a)-(c), collectively, “Service Fee
       Offsets”).




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       In the event of a Ride where the Fare is greater than the Rider Payment (excluding
       gratuity, Direct Fees, applicable estimated taxes, tolls, and surcharges, fees retained by
       us, and any other payments to you included on the per-trip receipt), no Service Fee will
       be charged for that Ride. In such a case, any excess amounts that you receive will be
       shown as an adjustment to your Service Fee(s) (or if necessary, as an adjustment to
       another payment owed to you). In consideration for using Shared Rides options, such
       as Uber Pool, you agree to pay us a Service Fee on each Rider’s Ride within a trip. The
       Service Fees applicable to a Shared Ride trip may vary within the trip.


       The “Weekly Service Fee” for the relevant weekly period shall equal all Rider Payments
       minus: (a) all Service Fee Offsets; and (b) any other payments to you not included on
       the per-trip receipt, including but not limited to weekly promotions, cleaning fee
       payments, and lost item fee payments.


       Rider Payment Unless we indicate to you otherwise, for each Ride, the Rider will pay
       an amount that includes the Fare, applicable estimated taxes, tolls and surcharges,
       Direct Fees, and other fees retained by us, as well as an amount that corresponds to
       the Service Fee, and if they choose, any gratuity (collectively, the “Rider Payment”).
       The Fare does not include the amount that corresponds to the Service Fee. For more
       information on how tolls and surcharges are charged to Riders, please see the Tolls
       and Surcharges Help Page.


       Limited Agency In order to facilitate the transactions described in this addendum,
       you hereby appoint us as your limited agent for payment collection for your Rides
       and we hereby accept such appointment. We will process the Rider Payment on
       your behalf through our Platform’s payment processing functionality. We will use
       commercially reasonable efforts to remit amounts owed to you at least once a
       week. The Rider Payment will be treated as if paid to you directly by a Rider, with
       the exception of Direct Fees. Further, by accepting a Ride, you agree to charge the
       Rider Payment to the Rider at the amount recommended by us as your limited
       pricing agent or to charge the Negotiated Fare. Either party may revoke this
       appointment by terminating this Agreement; such revocation will be effective after
       final settlement of all outstanding liabilities under this Agreement.


       Deductions; Set-off You also agree that the Driver Payment and incentives may be
       used to satisfy a court order of garnishment against you; to reimburse us for citations,
       tickets, or other administrative penalties or fines assessed by governmental entities or
       any airport arising from your conduct; to reimburse us for any erroneous overpayment
       to you; or to pay amounts related to shipping fees, and other product fees.




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       No Separate Payment Related to Uber Marketing or Rider Promotions We often
       separately advertise and market our Platform and other products and services generally
       (including discounts or promotions) to Riders that reduce what they ultimately pay for a
       Ride. Our advertising and marketing does not impact your Driver Payment, nor entitle
       you to any additional payment.


       Adjustments; Disputes In our good faith discretion, we may adjust or, in more serious
       situations, cancel or refund in its entirety, any component of the Driver Payment for
       reasons such as fraud, a failure to properly end a Ride, or your violation of this
       Agreement, such as a failure to comply with the Requirements. If you believe in good
       faith that there was an error that requires an adjustment to the Driver Payment, you can
       report that error by contacting us including by using the Driver app, phone support or
       visiting us in-person at a Greenlight Hub. You must report errors promptly or you will
       waive your right to dispute such Driver Payment. Disputed amounts will be paid
       promptly upon resolution. Amounts owed to you will not include interest and, if
       permitted by applicable law, will be net of any amounts you owe us.


       Receipts Our Platform provides you with a system for delivering receipts to your
       Riders. After completing a Ride, the receipt will be electronically delivered to your Rider
       on your behalf. It includes certain information about you and that Ride (including your
       details and a map of the route taken).


       Taxes You are required to follow applicable law regarding your tax registration,
       calculation and remittance obligations for your Rides, as well as to provide us with all
       relevant tax information. You are responsible for taxes on your own income. Based on
       applicable tax or regulatory considerations, we may choose in our reasonable discretion
       to collect from the Rider Payment taxes applicable to your Rides and remit such
       amounts directly to the applicable taxing authority, and may provide any of the relevant
       tax information you have given us directly to the applicable tax authorities on your
       behalf or otherwise.


           By clicking “Yes, I agree,” You expressly acknowledge that You have read,
           understood, and considered the consequences of this addendum, that You
           agree to be bound by the terms of this addendum, and that You are legally
                        competent to enter into this addendum with Uber.




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                                          Indemnity Agreement

                                                                             Updated as of January 6, 2020

       This Indemnity Agreement (this “​Indemnity Agreement”​ ) is by and among you and your
       company/business (“​you​”) and the following entity as applicable, based on the region specified:
       Uber Technologies, Inc. in California; Rasier-PA, LLC in Pennsylvania; Rasier-DC, LLC in Florida;
       Rasier-MT, LLC in Montana; Rasier-NY in New York; and Rasier, LLC in all other U.S. states,
       territories and possessions (collectively, “​Uber​”). For the sake of clarity and depending on the
       context, references to “​Uber,​ ” “​we,​ ” “​our”​ and “​us”​ may also refer to the appropriate
       Uber-affiliated contracting entity accordingly or Uber collectively.

       WHEREAS, you are a party to a Platform Access Agreement (the “​PAA​”) between you and Uber.
       Capitalized terms used herein but not defined herein shall have the meanings ascribed to them
       in the PAA.

       WHEREAS, in connection with the transactions contemplated by the PAA, the parties have
       agreed to indemnify each other as provided herein.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which is
       hereby acknowledged and in consideration of the premises and the covenants contained
       herein, you and Uber do hereby covenant and agree as follows:

       1.        Indemnity
                 1.1.​   ​You. ​To the maximum extent permitted by applicable law, you will indemnify,
       defend (at our option) and hold us and our affiliates and each of our and their respective
       officers, directors, employees, agents, or shareholders harmless from and against all claims,
       liabilities, expenses (including reasonable attorney’s fees and related expenses), damages,
       penalties, fines, social security contributions and taxes (“​Losses”​ ) asserted by a third party and
       arising out of or related to your breach or alleged breach of the Agreement or this Indemnity
       Agreement, your provision of Rides, your access to our Platform or your interaction with any
       third party.

               1.2.​     ​Us. ​We will indemnify, defend (at your option), and hold you (or your
       company, entity, or organization, if you are using the Driver App on behalf of your company,
       entity, or organization) harmless from and against all Losses arising out of a third party claim
       directly or indirectly related to allegations that the Driver App or the Authorized Uber Branded
       Materials infringe on or misappropriate that third party’s intellectual property rights. The




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       foregoing indemnity, defense and hold harmless obligations shall only apply if you (or your
       company, entity, or organization, if you are using the Driver App on behalf of your company,
       entity, or organization) were (a) using the Driver App or the Authorized-Uber Branded
       Materials, as applicable, in accordance with the licenses granted in the PAA (“​Authorized Use”​ )
       and (b) the Losses arose out of such Authorized Use.

               1.3.​  ​Process. ​If any indemnified Losses might adversely affect us, we may, to the
       extent permitted by applicable law, voluntarily intervene in any applicable proceeding at our
       expense. You will not consent to the entry of any judgment or enter into any settlement of an
       indemnified Losses without our prior written consent, which may not be unreasonably
       withheld; except that you may settle any claim that is exclusively directed at and exclusively
       affects you.

       2.     ​LIMITATION OF LIABILITY. ​TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE
       LAW, EXCEPT FOR LIABILITY ARISING FROM A PARTY’S BREACH OF ITS CONFIDENTIALITY
       OBLIGATIONS IN THE PAA, ITS INDEMNITY OBLIGATIONS HEREUNDER, OR A PARTY'S GROSS
       NEGLIGENCE OR WILLFUL MISCONDUCT, NEITHER PARTY (INCLUDING SUCH PARTY’S
       AFFILIATES, SUBSIDIARIES, PARENTS, SUCCESSORS AND ASSIGNS, AND EACH OF THEIR
       RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS, OR SHAREHOLDERS) SHALL BE LIABLE
       TO THE OTHER UNDER OR RELATED TO THIS INDEMNITY AGREEMENT OR THE AGREEMENT FOR
       ANY OF THE FOLLOWING, WHETHER BASED ON CONTRACT, TORT OR ANY OTHER LEGAL
       THEORY, EVEN IF SUCH PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES: (i)
       ANY INCIDENTAL, PUNITIVE, SPECIAL, EXEMPLARY, CONSEQUENTIAL, OR OTHER INDIRECT
       DAMAGES OF ANY TYPE OR KIND; OR (ii) THE OTHER PARTY OR ANY THIRD PARTY’S PROPERTY
       DAMAGE, LOSS OR INACCURACY OF DATA, OR LOSS OF BUSINESS, REVENUE, PROFITS, USE OR
       OTHER ECONOMIC ADVANTAGE.

       3.      Termination.​ Except as provided in the following sentence, this Indemnity Agreement
       will continue until and will terminate in its entirety upon the termination of all of the terms,
       covenants and agreements set forth in the PAA. The obligations set forth in this Indemnity
       Agreement shall survive the termination or expiration of this Indemnity Agreement with
       respect to actions occurring prior to such expiration or termination.

       4.      Conflicts.​ Except with respect to the Arbitration Provision in the PAA, if there is a
       conflict between this Indemnity Agreement and any supplemental agreement between you and
       us related to the indemnity, defense and hold harmless obligations described in this Indemnity
       Agreement this Indemnity Agreement will prevail with respect to the specific conflict.




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       5.       Severability.​ Invalidity of any provision of this Indemnity Agreement does not affect the
       rest of this Indemnity Agreement. The parties, or in the absence of an agreement by the
       parties, an arbitrator or court of competent jurisdiction, shall replace the invalid or non-binding
       provision with provisions that are valid and binding and that have, to the greatest extent
       possible, a similar effect as the invalid or non-binding provision, given the contents and purpose
       of this Indemnity Agreement.

       6.      Applicable Law. ​This Indemnity Agreement is governed by the applicable law of the
       state where you reside (or where your entity is domiciled) when you entered into this
       Indemnity Agreement (the “​Applicable Law​”). The Applicable Law shall apply without reference
       to the choice-of-law principles that would result in the application of the laws of a different
       jurisdiction.

       7.     Modification.​ Any modification of this Indemnity Agreement must be in writing and
       agreed by the parties.

       8.     Assignment; Successors and Assigns.​ We may freely assign or transfer this Indemnity
       Agreement or any of our rights or obligations in them, in whole or in part, without your prior
       consent. You agree not to assign this Indemnity Agreement, in whole or in part, without our
       prior written consent, and any attempted assignment without such consent is void.

       9.      No Incorporation in the PAA. ​ Notwithstanding anything herein to the contrary, this
       Indemnification Agreement will not be considered incorporated by reference, or otherwise a
       part of, the PAA.

       10.    Effectiveness.​ This Indemnity Agreement is effective as of the date and time you accept
       it.




           By clicking “Yes, I agree,” I expressly acknowledge that I have read, understood, and
        considered the consequences of this Indemnity Agreement, that I agree to be bound by the
          terms of this Indemnity Agreement, and that I am legally competent to enter into this
                                      Indemnity Agreement with Uber.




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